Mail - LChurchwell@publicInterestLegal.org
            Case No. 1:21-cv-03384-PAB-MEH                                           https://mail.publicinterestlegal.org/owa/#path=/mail/search
                                                                Document 1-2 filed 12/16/21     USDC Colorado pg 1 of 1


         NVRA public disclosure request

          Melissa Kessler <Melissa.Kessler@coloradosos.gov>
          Wed 8/18/2021 4:16 PM


          To:Logan Churchwell <LChurchwell@publicInterestLegal.org>;



          2 attachments (10 MB)

         Cancelled_Deceased_2019_2021 spreadsheet.pdf; 2021.6.24 ERIC Data NVRA Request CO (002).pdf;



         Mr. Churchwell,

         The following is in response to your June 24, 2021 inquiry pursuant to the NVRA, a ached.

         With respect to your ﬁrst query, we cannot provide the ERIC data you requested under C.R.S. 24-72-204 (1), which states
         that, "the custodian of any public records shall allow any person the right of inspec on of such records or any por on
         thereof except on one or more of the following grounds... (b) Such inspec on would be contrary to any federal statute or
         regula on issued thereunder having the force and eﬀect of law.”

         The federal statute at issue is 18 U.S.C. 2721, the Driver’s Privacy Protec on Act (DPPA). The DPPA restricts the release of
         “personal informa on” and “highly restricted personal informa on” … “obtained by the department in connec on with a
         motor vehicle record,” except for “use by any government agency, including any court or law enforcement agency, in
         carrying out its func ons, or any private person or en ty ac ng on behalf of a federal, state, or local agency in carrying
         out its func ons.” 18 U.S.C. sec on 2721(b)(1-2). In addi on, to the extent this query requests Limited Access Death
         Master File (LADMF) data, we are precluded from releasing that data under 15 CFR Part 1110.

         Please note, we are not denying this request based on the ERIC Membership Agreement. If you feel that there is data
         you are reques ng that is not covered by these federal statutes and regula on, please let us know exactly what is that
         data and why you believe it is not covered.

         With respect to your second request, please see the a ached. You have requested full dates of birth, but we are not
         permi ed to disclose birth days or months under state law. C.R.S. 24-72-204(8)(a). Therefore, the a ached contains only
         birth year.

         Thank you,
         Melissa

                                                            Melissa Belle Kessler
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                                                                                                                               EXHIBIT B

1 of 1                                                                                                                                 12/13/2021, 15:50
